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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              Case Number 07-20246
v.                                                            Honorable David M. Lawson

D-9    SCOTT JARAD McDUFFIE,

                  Defendant.
____________________________________/

 ORDER DENYING WITHOUT PREJUDICE DEFENDANT McDUFFIE’S MOTIONS
               FOR FAILURE TO SEEK CONCURRENCE

       On September 5, 2007, defendant Scott Jarad McDuffie filed three motions in violation of

the local rules. The Court will deny these motions without prejudice.

       Local Rule 7.1(a) requires a movant to seek concurrence in the relief requested before filing

a motion or request with this Court. E.D. Mich. LR 7.1(a). If concurrence is obtained, the parties

then may present a stipulated order to the Court. If concurrence is not obtained, Local Rule 7.1(a)(2)

requires that the moving party state in the motion that “there was a conference between the attorneys

. . . in which the movant explained the nature of the motion or request and its legal basis and

requested but did not obtain concurrence in the relief sought [ ] or . . . despite reasonable efforts

specified in the motion or request, the movant was unable to conduct a conference.” E.D. Mich. LR

7.1(a)(2).

       Defendant McDuffie does not state in any of his motions that concurrence was sought in the

relief requested before filing the motions. “It is not up to the Court to expend its energies when the

parties have not sufficiently expended their own.” Hasbro, Inc. v. Serafino, 168 F.R.D. 99, 101 (D.

Mass. 1996). The defendant has filed his motions in violation of Local Rule 7.1(a).
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      Accordingly, it is ORDERED that the defendant’s motion for disclosure of additional

discovery [dkt # 94] is DENIED WITHOUT PREJUDICE.

      It is further ORDERED that the defendant’s motion for extension of time to file additional

motions [dkt # 95] is DENIED WITHOUT PREJUDICE.

      It is further ORDERED that the defendant’s motion to compel retention of rough notes [dkt

# 96] is DENIED WITHOUT PREJUDICE.

                                                     s/David M. Lawson
                                                     DAVID M. LAWSON
                                                     United States District Judge

Dated: September 6, 2007


                                              PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney or party of record herein by electronic means or first
                      class U.S. mail on September 6, 2007.

                                                        s/Felicia M. Moses
                                                        FELICIA M. MOSES




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